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 4
 5                         IN THE UNITED STATES DISTRICT COURT
 6                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                   )   Case No. 2:17-cr-00155-MCE
 8   UNITED STATES OF AMERICA,                     )
               Plaintiff,                          )
 9                                                 )   STIPULATION AND ORDER FOR
10
           vs.                                     )   CONTINUANCE OF STATUS
                                                   )   CONFERENCE
11   LUIS NUNEZ,                                   )
     PABLO VARGAS, and                             )   Date: 12/4/19
12   GREGORIO NUNEZ,                               )   Time: 1:00 p.m.
                                                   )   Judge: Morrison C. England, Jr.
13                  Defendants.                    )
14
15
                                           STIPULATION
16
17         The United States of America through its undersigned counsel, James Conolly,
18   Assistant United States Attorney, together with Thomas A. Johnson, counsel for Gregorio
19   Nunez, Armando Villapudua, counsel for Luis Nunez, and T. Lance Archer, counsel for
20   Pablo Vargas, hereby stipulate the following:
21      1. By previous order, this matter was set for Status Conference on December 4, 2019.
22      2. By this stipulation, Defendant now moves to continue the Status Conference to
23         February 20, 2020, at 10:00 a.m. and to exclude time between December 4, 2019,
24         and February 20, 2020, under the Local Code T-4 (to allow defense counsel time
25         to prepare).
26      3. The parties agree and stipulate, and request the Court find the following:
27         a. A continuance is requested because defendants need additional time to review
28               the discovery, conduct investigation, and discuss a potential resolution.

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 1            Attorney for defendants believe the failure to grant a continuance in this case
 2            would deny defense counsel reasonable time necessary for effective
 3            preparation, taking into account the exercise of due diligence. An extension is
 4            necessary for the continuity of defense counsel as well.
 5         b. The Government does not object to the continuance.
 6         c. Based on the above-stated findings, the ends of justice served by granting the
 7            requested continuance outweigh the best interests of the public and the
 8            defendants in a speedy trial within the original date prescribed by the Speedy
 9            Trial Act.
10         d. For the purpose of computing time under the Speedy Trial Act, 18 United
11            States Code Section 3161(h)(7)(A) within which trial must commence, the
12            time period of December 4, 2019 to February 20, 2020, inclusive, is deemed
13            excludable pursuant to 18 United States Code Section 3161(h)(7)(A) and
14            (B)(iv), corresponding to Local Code T-4 because it results from a continuance
15            granted by the Court at defendant’s request on the basis of the Court’s finding
16            that the ends of justice served by taking such action outweigh the best interest
17            of the public and the defendant in a speedy trial.
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 1      4. Nothing in this stipulation and order shall preclude a finding that other provisions
 2         of the Speedy Trial Act dictate that additional time periods are excludable from
 3         the period within which a trial must commence.
 4
 5   IT IS SO STIPULATED.
 6
     DATED: December 2, 2019                  By:     /s/ Thomas A. Johnson_____
 7                                                    THOMAS A. JOHNSON
                                                      Attorney for Gregorio Nunez
 8
 9
10
11
     DATED: December 2, 2019                          McGREGOR W. SCOTT
12                                                    United States Attorney
13                                            By:    /s/ James Conolly            _______
                                                      JAMES CONOLLY
14                                                    Assistant U.S. Attorney
15
16   DATED: December 2, 2019                  By:     /s/ Armando Villapudua_____
                                                      ARMANDO VILLAPUDUA
17                                                    Attorney for Luis Nunez
18
     DATED: December 2, 2019                  By:     /s/ T. Lance Archer_____
19                                                    T. LANCE ARCHER
                                                      Attorney for Pablo Vargas
20
21                                           ORDER
22         IT IS SO ORDERED.
23   Dated: December 11, 2019
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